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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION

J.P. on her own behalf and on behalf of her
minor child, M.A.,

                                                    No. 1:23-cv-01136-JES-JEH
                               Plaintiffs,


       v.


United States of America,


                               Defendant.



                                   JOINT STATUS REPORT


       On April 12, 2024, the Parties submitted a Joint Status Report pursuant to the Court’s

November 15, 2023 Order. (Dkt. 34.) The Parties informed the Court that discussions regarding

additional jurisdictional discovery were ongoing. In light of the Joint Status Report, the Court

ordered the parties to submit an additional Joint Status by April 24, 2024. (Dkt. 35.)

       On April 17, 2024, Defendant responded to Plaintiffs’ requests for additional discovery,

stating the government’s position was that the requested discovery was not relevant to the

jurisdictional issue. The Parties are continuing discussions in an effort to resolve this dispute

without Court intervention. To establish a proper record of Plaintiffs’ requests and Defendant’s

opposition, the Parties propose the following dates and deadlines:

   1. Plaintiffs shall serve requests for production and notice fact depositions to Defendant by

       May 10, 2024.

   2. Defendant shall serve responses and objections to Plaintiffs’ requests for production and
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    deposition notices by June 10, 2024.

3. The Parties shall meet and confer by June 21, 2024.

4. If the Parties are unable to reach a resolution, the Party first raising the dispute shall file a

    Motion for Hearing Concerning Discovery Dispute by June 28, 2024, pursuant to Section

    VII.2 of this Court’s Standing Order.
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Dated: April 24, 2024                     Respectfully submitted,

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                                          Counsel for Plaintiffs



Dated: April 24, 2024                     Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on April 24, 2024 the within document was filed with the Clerk of

the Court using CM/ECF.




                                                           /s/ Daralyn J. Durie
                                                          DARALYN J. DURIE
